                   Case: 24-2092, 08/26/2024, DktEntry: 38.1, Page 1 of 1


                          UNITED STATES COURT OF APPEALS
                                        FOR THE
                                   SECOND CIRCUIT
                      ____________________________________________

         At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
the 26th day of August, two thousand twenty-four,

_______________________________________

Boehringer Ingelheim Pharmaceuticals, Inc.,                   ORDER
                                                              Docket No. 24-2092


              Plaintiff - Appellant,

  v.

United States Department of Health and Human
Services, Xavier Becerra, In His Official Capacity as
Secretary of Health and Human Services, Centers for
Medicare and Medicaid Services, Chiquita Brooks-
Lasure, In Her Official Capacity as Administrator of
Centers for Medicare and Medicaid Services,



           Defendants - Appellees.
_______________________________________


         Counsel for APPELLANT Boehringer Ingelheim Pharmaceuticals, Inc., has filed a
scheduling notification pursuant to the Court's Local Rule 31.2, setting October 25, 2024, as the
brief filing date.

       It is HEREBY ORDERED that Appellant's brief must be filed on or before October 25,
2024. The appeal is dismissed effective October 25, 2024, if the brief is not filed by that date. A
motion to extend the time to file the brief or to seek other relief will not toll the filing date. See
Local Rule 27.1(f)(1); cf. RLI Insurance Co. v. JDJ Marine, Inc., 716 F.3d 41, 43-45 (2d Cir.
2013).


                                                        For The Court:
                                                        Catherine O'Hagan Wolfe,
                                                        Clerk of Court
